i
               Case 3:14-cr-03593-JES                     Document 187                  Filed 11/29/16           PageID.651             Page 1 of 5
        %A0 245B(CASD) (Rev. 12/11) Judgment in a Criminal Case                                                                        k;;p sty
                 Sheet 1

                                                                                                                                       NOV l 9 ZUIli
                                                  United States District Court                                                CLERK, iJ.S. CYCTrLCT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA    CQUTNERA ICSTKiCO OF CALIFORNIA
                                                                             BY                        FLUTY
                        UNITED STATES OF AMERICA          JUDGMENT   IN A CRIMINAL  CASE     '
                                            y.                                          (For Offenses Committed On or After November 1,1987)

                          EDILBERTO MEJORADO (3)                                        Case Number: 14CR3593-BEN
                                                                                        DANIEL CASILLAS
                                                                                        Defendant’s Attorney
       REGISTRATION NO. 48815298


       □
       THE DEFENDANT:
       |Xl pleaded guilty to count(s) Is OF THE SUPERSEDING INFORMATION.
        I I was found guilty on count(s)_________________________________________________________
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                Count
       Title & Section                           Nature of Offense                                                                             Number(s)
21 USC 846, 841(a)(1)                     Conspiracy to Distribute Controlled Substances                                                             Is




           The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
    to the Sentencing Reform Act of 1984.
     I | The defendant has been found not guilty on count(s)
    | | Count(s)                                                                           are Q dismissed on the motion of the United States.
                                                                                         is EH
    |xl Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
        during the period of incarceration.


    l~1 Fine waived                                    | 1 Forfeiture pursuant to order filed                                     , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                  NOVEMBER^ 2016
                                                                                 Date of Imposition m Sentence
                                                                                                                                                A

                                                                                 H0k ROG]          fITEZ                                     T7
                                                                                 UNITED STATES DISTRICT JUDGE
                                                                                                                                                    14CR3593-BEN
I
            Case 3:14-cr-03593-JES                   Document 187              Filed 11/29/16       PageID.652          Page 2 of 5
    AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet 2 — Imprisonment
                                                                                                                         2   of       5
                                                                                                      Judgment — Page
     DEFENDANT: EDILBERTO MEJORADO (3)
     CASE NUMBER: 14CR3593-BEN

                                                               IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
              Seventy-two (72) month as follows: 36 months concurrent to the sentence imposed in case 14CR3594-BEN, 36 months
              consecutive to the sentence imposed in case 14CR3594-BEN


          □ Sentence imposed pursuant to Title 8 USC Section 1326(b).
          IXl The court makes the following recommendations to the Bureau of Prisons:
              Defendant be incarcerated within the Eastern region of the United States.

              Defendant be allowed to participate in the 500-hour drug treatment program.


          |~| The defendant is remanded to the custody of the United States Marshal.

          | | The defendant shall surrender to the United States Marshal for this district:

                □ at                                   □a.m.      □ p.m.       on .
                   as notified by the United States Marshal.

          |~1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               I I before
               |~1 as notified by the United States Marshal.
               I I as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
     I have executed this judgment as follows:

             Defendant delivered on                                                      to

     at                                                 , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL

                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL




                                                                                                                             14CR3593-BEN
tv            Case 3:14-cr-03593-JES                   Document 187               Filed 11/29/16            PageID.653             Page 3 of 5
     AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet 3 — Supervised Release
                                                                                                                    Judgment—Page __ 3         of        5
     DEFENDANT: EDILBERTO MEJORADO (3)
     CASE NUMBER: 14CR3593-BEN
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     Five (5) years.

              The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
     the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     For offenses committed on or after September 13, 1994:
      The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
      substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
      thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
      the term of supervision, unless otherwise ordered by court.
     | | The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
     IXl    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
     |X|    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
     | |    The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
            was convicted of a qualifying offense. (Check if applicable.)
     I I    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

               If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
     or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
     forth in this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
     any special conditions imposed.

                                             STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant’s compliance with such notification requirement.
                                                                                                                                            14CR3593-BEN
 i/
              Case 3:14-cr-03593-JES                    Document 187       Filed 11/29/16          PageID.654           Page 4 of 5
         AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                    Sheet 4 — Special Conditions
                                                                                                        Judgment—Page      4    of      5
         DEFENDANT: EDILBERTO MEJORADO (3)
         CASE NUMBER: 14CR3593-BEN                                                                  □


                                               SPECIAL CONDITIONS OF SUPERVISION
      Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.                                                                                                                              E
R| If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
   officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
^ Not transport, harbor, or assist undocumented aliens.
^ Not associate with undocumented aliens or alien smugglers.

      Not reenter the United States illegally.
   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
R] Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
^ Not possess any narcotic drag or controlled substance without a lawful medical prescription.
^ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drags in any form.
I] Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
   psychiatrist/physician, and not discontinue any medication without permission.- The Court authorizes the release of the presentence report
   and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
   information between the probation officer and the treatment provider. Is required to contribute to the costs of services rendered in an amount
   to be determined bv the probation officer, based on the defendant's ability to pav.                                                           I
Zl Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
^ Provide complete disclosure of personal and business financial records to the probation officer as requested.

   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
   probation officer.
I] Seek and maintain full time employment and/or schooling or a combination of both.
□ Resolve all outstanding warrants within                   days.

  Complete         hours of community service in a program approved by the probation officer within
^ Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
]] Participate in a program of drag or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
   probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
   contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.


□



                                                                                                                                     14CR3593-BEP>
         Case 3:14-cr-03593-JES                     Document 187      Filed 11/29/16         PageID.655             Page 5 of 5



AQ245S      Judgment in Criminal Case
            Sheet 5 — Criminal Monetary Penalties
                                                                                                                      5      of   5
                                                                                                  Judgment — Page
DEFENDANT: EDILBERTO MEJORADO (3)
CASE NUMBER: 14CR3593-BEN                                                                  □
                                                                   FINE

       The defendant shall pay a fine in the amount of              $500.00            unto the United States of America.




         This sum shall be paid ___ immediately.
                                 * as follows:

          Forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per
          quarter during the period of incarceration.




         The Court has determined that the defendant does            have the ability to pay interest. It is ordered that:

   *      The interest requirement is waived.


          The interest is modified as follows:




                                                                                                14CR3593-BEN
